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                                                and Motion for Summary Judgment,
                                                   Statement of Uncontroverted Facts,
                                                Declaration of K. Cope, Request for
                                                   Judicial Notice, and [Proposed]
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DOOGRFXPHQWVILOHGHOHFWURQLFDOO\LIUHFHLSWLVUHTXLUHGE\ODZRUGLUHFWHGE\WKHILOHU3$&(5DFFHVVIHHV
DSSO\WRDOORWKHUXVHUV7RDYRLGODWHUFKDUJHVGRZQORDGDFRS\RIHDFKGRFXPHQWGXULQJWKLVILUVW
YLHZLQJ+RZHYHULIWKHUHIHUHQFHGGRFXPHQWLVDWUDQVFULSWWKHIUHHFRS\DQGSDJHOLPLWGRQRW
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